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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )         CAUSE NO. 2:10-CR-109
                                     )
 DAVID LIRA,                         )
                                     )
 Defendant.                          )

                                     ORDER

       This   matter   is   before       the    Court   on   the    Findings      and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant David Lira (DE #488) filed on July 16, 2012.                            No

 objections have been filed to Magistrate Judge Rodovich’s findings

 and recommendations upon a plea of guilty.             Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant David Lira, and FINDS the Defendant guilty of

 Count 1 of the third superseding indictment.

       This matter is set for sentencing on November 16, 2012, at

 1:00 p.m.



 DATED: August 6, 2012                         /s/RUDY LOZANO, Judge
                                               United States District Court
